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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              ALBANY DIVISION

ESEAN EDWARDS,                              :
                                            :
      Plaintiff,                            :
                                            :
v.                                          :      CASE NO.: 1:23-CV-221 (LAG)
                                            :
WAYNE STEWART TRUCKING,                     :
STARNET INSURANCE CO., and                  :
CASEY B. FOREMAN,                           :
                                            :
      Defendants.                           :
                                            :
                                        ORDER
      Before the Court is Defendant Casey B. Foreman’s Motion to Dismiss (Doc. 7),
dated April 4, 2024, Defendant Wayne Stewart Trucking’s Motion to Dismiss (Doc. 14),
dated April 9, 2024, Defendant StarNet Insurance Company’s Motion to Dismiss for Lack
of Subject Matter Jurisdiction and Memorandum of Law in Support (Motion to Dismiss)
(Doc. 16), dated April 12, 2024, and Plaintiff’s Motion to Amend the Complaint (Doc. 19),
dated April 16, 2024. For the reasons below, Defendants’ Motions to Dismiss (Docs. 7, 14,
16) are GRANTED and Plaintiff’s Motion to Amend (Doc. 19) is DENIED.
                                   BACKGROUND
      This suit arises from a worker’s compensation dispute between Plaintiff Esean
Edwards and his former employer, Defendant Wayne Stewart Trucking Company. (Doc. 1
at 4–5). Plaintiff also names StarNet Insurance Company and Casey Foreman as
Defendants. (Id. at 2). While Plaintiff does not explain Defendant StarNet Insurance
Company’s role in this matter, it appears from the allegations that Defendant StarNet
Insurance Company might be the company contracted to provide workers compensation
benefits. (See generally id.). The Complaint contains no allegations about Defendant
Foreman. (See generally id.).
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       On or about June 21, 2019, while driving for Defendant Wayne Stewart Trucking,
Plaintiff sustained numerous injuries during a “head-on collision with a drunk driver[.]”
(Id. at 4). Plaintiff received medical care from the time of the accident until February 12,
2020, and Defendant Wayne Stewart Trucking continued to pay Plaintiff through February
14, 2020. (Id.). Plaintiff does not state explicitly that his employment was terminated in
February 2020, but he does state that that Defendant Wayne Stewart Trucking Company
“didn’t allow [him] the opportunity to return to light or full work duty.” (Id.).
       With regard to Defendant StarNet Insurance Company, Plaintiff alleges that
Defendant StarNet Insurance Company failed to provide benefits to which he was entitled,
presumably as a result of the accident. (Id.). Specifically, Plaintiff alleges that Defendant
StarNet Insurance Company was obligated to pay benefits in the amount of $675.00 per
week and failed to do so. (Id.). Plaintiff alleges that the weekly benefits owed to him by
Defendant StarNet Insurance Company continue to accrue and that he is entitled to 15%
interest on the unpaid benefits. (Id. at 4–5).
       A worker’s compensation hearing was held on November 2, 2022, and Plaintiff was
awarded $2,300.00 “from January 2020 until February 2020[.]” (Id. at 4). He appealed the
award to the Appellate Division at the Worker Compensation Office, and the $2,300.00
award was affirmed. (Id.). Plaintiff subsequently appealed to the Superior Court of
Dougherty County and the Court of Appeals of Georgia. (Id.). Neither appeal was
successful. (Id.). Plaintiff seeks $1,489,183.00 in compensatory damages as of December
15, 2023, $156,026.25 in lost wages from Defendant StarNet Insurance Company, and
$488,750.00 in future medical expenses. (Id. at 4–5).
       Plaintiff filed the Complaint on December 18, 2023. (Doc. 1). On April 4, 2024,
Defendant Foreman filed a Motion to Dismiss and a Motion to Stay. (Docs. 7, 8). On April
9, 2024, Defendant Wayne Stewart Trucking Company filed a Motion to Dismiss. (Doc.
14). On April 12, 2024, Defendant StarNet Insurance Company filed a Motion to Dismiss.
(Doc. 16). On April 16, 2024, Plaintiff filed a Response to Defendant Foreman’s Motion
to Dismiss and a Motion to Amend. (Docs. 18, 19). On April 17, 2024, Defendant Key
Risk Management Company (Defendant Key Risk) filed a Motion to Dismiss. (Doc. 20).


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On June 17, 2024, the Court granted Defendant Foreman’s Motion to Stay. (Doc. 31). After
granting three extensions to allow Plaintiff to complete process of service on Defendant
Key Risk, the Court denied Plaintiff’s fourth and fifth motions for extensions and dismissed
Key Risk as a defendant. (Doc. 38; see Docs. 32–37). The Motions are now ripe for review.
See M.D. Ga. L.R. 7.2, 7.3, 7.3.1.
                                       DISCUSSION
       Plaintiff brings this action pro se. Generally, “[p]ro se pleadings are held to a less
stringent standard than pleadings drafted by attorneys and will, therefore, be liberally
construed.” Tannenbaum v. United States, 148 F.3d 1262, 1263 (11th Cir. 1998) (per
curiam) (citation omitted); see also Estelle v. Gamble, 429 U.S. 97, 106 (1976) (“[A] pro
se complaint, ‘however inartfully pleaded,’ must be held to ‘less stringent standards than
formal pleadings drafted by lawyers’ and can only be dismissed for failure to state a claim
if it appears ‘beyond doubt that the plaintiff can prove no set of facts in support of his claim
which would entitle him to relief.’” (citations omitted)). “But the leniency accorded pro se
litigants does not give a court license to serve as de facto counsel for a party or to rewrite
an otherwise deficient pleading to sustain an action.” Matthews, Wilson & Matthews, Inc.
v. Capital City Bank, 614 F. App’x 969, 970 n.1 (11th Cir. 2015) (per curiam) (citing GJR
Invs., Inc. v. Cnty. of Escambia, 132 F.3d 1359, 1369 (11th Cir. 1998), overruled in part
on other grounds by Randall v. Scott, 610 F.3d 701, 709 (11th Cir. 2010)).
I.     Defendants’ Motions to Dismiss
       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a
complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
Twombly, 550 U.S. at 570). A claim is plausible on its face if the complaint alleges enough
facts to “allow[] the court to draw the reasonable inference that the defendant is liable for
the misconduct alleged.” Id. (citation omitted). A complaint must plead “enough fact[s] to
raise a reasonable expectation that discovery will reveal evidence” of the defendant’s
liability. Twombly, 550 U.S. at 556. The Court must “take the factual allegations in the
complaint as true and construe them in the light most favorable to the plaintiffs[,]” but the


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same liberal reading does not apply to legal conclusions. Anderson, 17 F.4th at 1344–45
(first quoting Edwards v. Prime, Inc., 602 F.3d 1276, 1291 (11th Cir. 2010); and then citing
Iqbal, 556 U.S. at 678). “[A] plaintiff armed with nothing more than conclusions” cannot
“unlock the doors of discovery[.]” Iqbal, 556 U.S. at 678–79. Additionally, “[t]hreadbare
recitals of the elements of a cause of action, supported by mere conclusory statements, do
not suffice.” Id. at 678 (citation omitted).
       It is axiomatic that federal courts are courts of limited jurisdiction. Univ. of S. Ala.
v. Am. Tobacco Co., 168 F.3d 405, 409 (11th Cir. 1999); Kirkland v. Midland Mortg. Co.,
243 F.3d 1277, 1279–80 (11th Cir. 2001). “They are ‘empowered to hear only those cases
within the judicial power of the United States as defined by Article III of the Constitution’
. . . .” Univ. of S. Ala., 168 F.3d at 409 (citation omitted). “Subject matter jurisdiction in a
federal court may be based upon federal question or diversity jurisdiction.” Walker v. Sun
Tr. Bank of Thomasville, 363 F. App’x 11, 15 (11th Cir. 2010) (per curiam) (citing 28
U.S.C. §§ 1331, 1332). When a federal court acts outside of its statutory subject-matter
jurisdiction, “it violates the fundamental constitutional precept of limited federal power”
and “unconstitutionally invades the powers reserved to the states to determine
controversies in their own courts[.]” Univ. of S. Ala., 168 F.3d at 409–10 (internal citations
and quotation marks omitted).
       “[O]nce a federal court determines that it is without subject matter jurisdiction, the
court is powerless to continue.” Id. at 410. For that reason, the Eleventh Circuit requires
federal courts “to inquire into their jurisdiction at the earliest possible point in the
proceeding.” Kirkland, 243 F.3d at 1279–80 (citation omitted); Univ. of S. Ala., 168 F.3d
at 410 (“[A] court should inquire into whether it has subject matter jurisdiction at the
earliest possible stage in the proceedings.”). “Indeed, it is well settled that a federal court
is obligated to inquire into subject matter jurisdiction sua sponte whenever it may be
lacking.” Univ. of S. Ala., 168 F.3d at 410 (collecting cases); see also Smith v. GTE Corp.,
236 F.3d 1292, 1299 (11th Cir. 2001) (“[A] court must zealously insure that jurisdiction
exists over a case, and should itself raise the question of subject matter jurisdiction at any



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point in the litigation where a doubt about jurisdiction arises.” (citations omitted)). Here,
the Court has neither federal question nor diversity jurisdiction.
       Plaintiff has failed to plead a claim plausibly raising a federal question. A federal
question exists if a civil action arises under the Constitution, laws, or treaties of the United
States. 28 U.S.C. § 1331. “A case ‘aris[es] under’ federal law within the meaning of § 1331
. . . if ‘a well-pleaded complaint establishes either that federal law creates the cause of
action or that the plaintiff's right to relief necessarily depends on resolution of a substantial
question of federal law.’” Empire Healthchoice Assurance, Inc. v. McVeigh, 547 U.S. 677,
689–90 (2006) (alteration in original) (quoting Franchise Tax Bd. of Cal. v. Constr.
Laborers Vacation Tr. for S. Cal., 463 U.S. 1, 27–28 (1983)).
                  The presence or absence of federal-question jurisdiction is
                  governed by the ‘well-pleaded complaint rule,’ which provides
                  that federal jurisdiction exists only when a federal question is
                  presented on the face of the plaintiff’s properly pleaded
                  complaint. The rule makes the plaintiff the master of the claim;
                  he or she may avoid federal jurisdiction by exclusive reliance
                  on state law.

Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987) (citation omitted). Although Plaintiff
does not specifically allege federal question jurisdiction, the Court has considered whether
the Complaint can be construed to assert federal question jurisdiction and has determined
that it cannot.
       “Diversity jurisdiction exists where the suit is between citizens of different states
and the amount in controversy exceeds . . . $75,000.” Williams v. Best Buy Co., 269 F.3d
1316, 1319 (11th Cir. 2001) (citing 28 U.S.C. § 1332(a)). Plaintiff alleges the amount in
controversy to be $2,357,060.00. (Doc. 1 at 6). Although Plaintiff’s Complaint alleges facts
sufficient to establish the amount in controversy required, it does not establish complete
diversity. (See id.). According to the Complaint, both Plaintiff and Defendants Wayne
Stewart Trucking and Foreman are residents of the State of Georgia. (Id. at 1–2). Because
Plaintiff and two of the named defendants are citizens of the same state, Plaintiff has not
alleged complete diversity of the parties. As there is no federal question at issue or complete



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diversity of the parties, the Court does not have subject matter jurisdiction and cannot hear
this matter.
II.    Plaintiff’s Motion to Amend Complaint
       A plaintiff may amend its complaint “once as a matter of course” within twenty-one
days of serving the complaint or within twenty-one days of service of a responsive pleading
or motion under Federal Rules of Civil Procedure 12(b), (e), or (f). Fed. R. Civ. P. 15(a)(1).
In all other cases, a plaintiff “may amend its pleading only with the opposing party’s written
consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). Absent a “specific, significant reason
for denial . . . such as undue delay, bad faith or dilatory motive on the part of the movant,
repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
to the opposing party . . . [or] futility of amendment,” leave to amend pleadings “should,
as the rules require, be freely given.” Spanish Broad. Sys. of Fla., Inc. v. Clear Channel
Commc’ns, Inc., 376 F.3d 1065, 1077 (11th Cir. 2004) (quoting Foman v. Davis, 371 U.S.
178, 182 (1962)). Given Rule 15’s liberal amendment standard, “district courts should
generally exercise their discretion in favor of allowing amendments to reach the merits of
a dispute.” Pinnacle Advert. & Mktg. Grp., Inc. v. Pinnacle Advert. & Mktg. Grp., LLC, 7
F.4th 989, 1000 (11th Cir. 2021) (citation omitted). The Eleventh Circuit has instructed
that “[a] motion for leave to amend may be denied where amendment would be futile.”
Wayne Johnson for Cong., Inc. v. Hunt, No. 23-10460, 2024 WL 471938, at *5 (11th Cir.
Feb. 7, 2024), cert. denied, 145 S. Ct. 149 (2024) (quotation marks and citation omitted).
“Amendment would be futile ‘when the complaint as amended is still subject to
dismissal.’” Id. (citing Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir.
2004)).
       Plaintiff moves to amend the Complaint, seeking to state claims under Title VII
against Defendant Wayne Stewart Trucking Company and Defendant StarNet Insurance
Company. (Doc. 19 at 2–3). Again, Plaintiff does not allege any facts against Defendant
Foreman in the proposed Amended Complaint. (See id.). Defendant Wayne Stewart
Trucking Company opposes the amendment as futile because Plaintiff failed to pursue
administrative remedies required to bring a Title VII action and because Plaintiff is now


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time-barred from doing so. (Doc. 22 at 1, 4). An amendment is futile “when the complaint
as amended would still be properly dismissed[.]” Cockrell v. Sparks, 510 F.3d 1307, 1310
(11th Cir. 2007) (per curiam). While a Title VII claim would invoke the Court’s federal
question jurisdiction, Plaintiff is procedurally and time-barred from bringing such a claim;
and the proposed Amended Complaint would be dismissed. See 42 U.S.C. § 2000e-5.
Accordingly, as Plaintiff’s proposed Amended Complaint is futile, the Motion to Amend
(Doc. 19) is DENIED.
                                     CONCLUSION
       Accordingly, Defendants’ Motions to Dismiss (Docs. 7, 14, 16) are GRANTED,
and Plaintiff’s Motion to Amend (Doc. 19) is DENIED.

              SO ORDERED, this 5th day of March, 2025.

                                          /s/ Leslie A. Gardner
                                          LESLIE A. GARDNER, CHIEF JUDGE
                                          UNITED STATES DISTRICT COURT




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